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               EXHIBIT 1
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 13                        UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15                                             Case No. 8:22-ML-3052-JVS(KESx)
    In re: KIA HYUNDAI VEHICLE
 16 THEFT LITIGATION
                                                The Honorable James V. Selna
 17
      This Document Relates to:
 18                                             SECOND AMENDED
    City of Chicago v. Kia America, Inc.,       COMPLAINT
 19
    and Hyundai Motor America, Case No.
 20 8:23-cv-02045-JVS(KESx)                     JURY TRIAL DEMANDED

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   1       SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
   2         Plaintiff City of Chicago (the “City” or “Chicago”) brings this action against
   3 Defendants Kia America, Inc. (“Kia”) and Hyundai Motor America (“Hyundai”).1
   4                                    INTRODUCTION
   5         1.    Unlike the movies, hot-wiring vehicles is far harder than it appears—
   6 unless that vehicle was manufactured by Hyundai or Kia.
   7         2.    For years, automakers Kia and Hyundai chose to forego (often simple)
   8 industry-standard, anti-theft technologies in many of their cars. As soon as people
   9 discovered their shortcomings, videos showing how to “hot-wire” these cars went
  10 viral on the Internet. Not surprisingly, thefts of Kia and Hyundai vehicles
  11 skyrocketed at record-setting rates in cities throughout the United States, including
  12 in Chicago. This rise in thefts led to a rise in reckless driving, motor vehicle
  13 accidents, violent crimes, injuries, and property damage.
  14         3.    Unfortunately, this critical defect in Hyundai and Kia vehicles could
  15 have been easily prevented. Most car manufacturers in the United States began
  16 introducing engine immobilizers as standard anti-theft equipment over a decade ago.
  17 Essentially, an electronic engine immobilizer is a security technology that functions
  18 by requiring a smart key with a special chip that sends an encrypted signal to start
  19 the car. Unlike nearly every other major car manufacturer, however, Kia and
  20 Hyundai failed to install this critical anti-theft technology or any equivalent anti-
  21 theft technology in most of the vehicles they sold in the United States between 2011
  22 and 2022, all while touting their vehicles as having “advanced” technology and
  23 safety features.
  24         4.    Kia and Hyundai knew that engine immobilizers were effective at
  25
       1
            Pursuant to a stipulation with Defendants, Chicago voluntarily dismissed
  26 Defendants Hyundai Motor Company and Kia Corporation without prejudice. (See
  27 Dkt. No. 292.) Chicago therefore removed those Defendants in this second amended
     complaint. That removal is not intended by Chicago to modify any of the terms of
  28 the stipulated dismissal.

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   1 preventing car theft. Kia and Hyundai had the capability to provide immobilizers, as
   2 they were routinely installing them as standard equipment in vehicles sold outside
   3 the United States. Both companies also knew that failing to install immobilizers or
   4 equivalent anti-theft technology would increase crime and threaten public safety.
   5 Yet they failed to install them. Moreover, they failed to clearly disclose this lack of
   6 industry-standard or equivalent anti-theft technology to consumers. With this
   7 information not readily available without such a disclosure, thousands of Chicago
   8 consumers unknowingly bought Hyundai and Kia vehicles that were highly
   9 susceptible to theft and have been left to pay thousands of dollars in costs to replace
  10 and/or repair stolen vehicles and increased insurance premiums.
  11         5.    Kia’s and Hyundai’s unlawful and reckless actions have caused a car
  12 theft crisis. In 2022, more than 8,800 Kia and Hyundai vehicles were stolen in
  13 Chicago alone. This figure represented 41% of Chicago’s car thefts, even though
  14 Kia and Hyundai vehicles made up just 7% of the vehicles. Unfortunately, that trend
  15 continued into 2024, with Hyundai and Kia vehicles consistently accounting for
  16 more than 40% of all vehicles stolen in Chicago.
  17         6.    The surge in thefts has hit Chicago especially hard—placing
  18 pedestrians, drivers, and bystanders in harm’s way. This crime wave has also further
  19 stressed Chicago’s law enforcement and emergency services. Chicago is bearing the
  20 cost of Defendants’ unlawful conduct, as it pays for property damage, diverts law
  21 enforcement resources, and strives to keep the public safe from harm that
  22 Defendants could have prevented. Through this lawsuit, Chicago seeks to shift those
  23 costs back to Defendants and hold Defendants accountable for their
  24 misrepresentations and material omissions to Chicago consumers.
  25                                        PARTIES
  26         7.    Plaintiff City of Chicago is a municipal corporation and a home-rule
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   1 unit organized and existing under the laws of the State of Illinois.2
   2         8.    Defendant Hyundai Motor America is a manufacturer and distributor of
   3 motor vehicles under the Hyundai brand and is incorporated and headquartered in
   4 the State of California. Its headquarters is located at 10550 Talbert Avenue,
   5 Fountain Valley, California. Hyundai Motor America distributes, markets, leases,
   6 warrants, and oversees regulatory compliance and warranty servicing of Hyundai
   7 brand vehicles through a network of over 800 dealers throughout the United States
   8 from its headquarters in California. Hyundai has dealerships in Chicago. On
   9 information and belief, Hyundai Motor America is directly and materially involved
  10 in the manufacture and design of vehicles and in developing and disseminating
  11 promotional and advertising materials for Hyundai vehicles to United States
  12 consumers, including consumers in Chicago.
  13         9.    Defendant Kia America, Inc. is a manufacturer and distributor of new
  14 motor vehicles under the Kia brand and is incorporated and headquartered in the
  15 State of California. Its principal place of business is located at 111 Peters Canyon
  16 Road, Irvine, California. Kia America, Inc. markets, leases, warrants, and oversees
  17 regulatory compliance and warranty servicing of Kia-brand vehicles through a
  18 network of over 700 dealers throughout the United States from its headquarters in
  19 California. Kia has a dealership in Chicago. On information and belief, Kia
  20 America, Inc. is directly and materially involved in the manufacture and design of
  21 vehicles and in developing and disseminating promotional and advertising materials
  22 for Kia vehicles to United States’ consumers, including consumers in Chicago.
  23
  24
       2
  25         Following an investigation, Kenneth J. Meyer, Commissioner for the City of
     Chicago Department of Business Affairs and Consumer Protection, determined that
  26 Defendants engaged in practices prohibited by Section 2-25-090 of the Municipal
  27 Code of Chicago (“MCC”), and subsequently requested that the City of Chicago
     Department of Law bring legal action against Defendants seeking all available
  28 relief.
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   1                             JURISDICTION AND VENUE
   2         10.   This Court has subject matter jurisdiction pursuant to 28 U.S.C.
   3 § 1332(a) as the amount in controversy exceeds $75,000 and there is complete
   4 diversity between the parties. The City of Chicago is a citizen of the State of Illinois
   5 for purposes of diversity jurisdiction. Defendants Hyundai and Kia are citizens of
   6 the State of California, where they are headquartered and incorporated.
   7         11.    Chicago originally filed this action in state court in Cook County,
   8 Illinois. This action was then removed to the United States District Court of the
   9 Northern District of Illinois. Pursuant to the Transfer Order issued by the United
  10 States Judicial Panel on Multidistrict Litigation the action was then transferred to
  11 this multidistrict litigation pending in the United States District Court for the District
  12 of Central California. (Dkt. No. 260.) Chicago maintains its Home Venue is the
  13 United States District Court of the Northern District of Illinois.
  14         12.    This Court has general personal jurisdiction over Hyundai and Kia
  15 because they are incorporated and headquartered in the State of California. This
  16 Court also has specific personal jurisdiction over Defendants because they conduct
  17 significant business in this District, some of the unlawful conduct alleged herein
  18 occurred in and/or emanated from this District, and the Defendants have their
  19 principal places of business in this District.
  20         13.   Venue is proper in this District under 28 U.S.C. § 1391(b) because a
  21 substantial part of the events giving rise to the Complaint occurred in this District.
  22                              FACTUAL ALLEGATIONS
  23         A.    Hyundai and Kia Became Two of the Most Popular Vehicle
  24               Manufacturers in the United States.
  25         14.   Hyundai started selling vehicles in the United States in 1986. Kia first
  26 began selling cars in the United States in 1992. Since that time Hyundai and Kia
  27 have grown into two of the most popular and recognizable car brands in the United
  28 States. From 2010 to 2022 Hyundai and Kia’s car sales in the United States grew
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   1 from 894,300 to 1,451,594.
   2         15.   Hyundai Motor Company was initially a majority stakeholder in Kia,
   3 until it divested a portion of its interest in the 2000s. It now controls approximately
   4 one-third of Kia Corporation. However, Hyundai and Kia remain closely connected.
   5         16.   As one example of those remaining close connections, Hyundai and
   6 Kia vehicles share many of the same component parts and are worked on by the
   7 same group of engineers at the Hyundai America Technical Center, Inc. (“HATCI”).
   8 HATCI is an authorized representative for Hyundai and Kia when dealing with the
   9 National Highway Traffic Safety Administration (“NHTSA”). Additionally, many
  10 Hyundai and Kia vehicles share the same underlying engineering, although they
  11 may differ in style and cosmetic touches. For this reason, when certain parts are
  12 recalled for Hyundai vehicles, they are often recalled for Kia vehicles as well.
  13         17.   Kia and Hyundai both have dealerships in Chicago and marketed and
  14 sold vehicles to Chicago consumers. From 2011 through 2022, Defendants marketed
  15 and sold vehicles that did not include industry-standard or equivalent anti-theft
  16 equipment to Chicago consumers.
  17         B.    Hyundai and Kia Failed to Install Industry-Standard Engine
  18               Immobilizers or Equivalent Technology.
  19         18.   In 1919, St. George Evans and Edward B. Birkenbeuel invented the
  20 “Automobile-Theft Preventer,” the first electric immobilizer/vehicle security
  21 system. The immobilizer/alarm system consisted of a three-by-three switch panel
  22 that connected the car’s battery, ignition, and horn. When exiting the vehicle, the
  23 driver could turn switches on the panel to divert electricity from the ignition to the
  24 horn when an unauthorized person attempted to start the vehicle.
  25         19.   The timing of this first immobilizer technology coincided with
  26 Congress’s enactment of the National Motor Vehicle Theft Act, 18 U.S.C. § 2311 et
  27 seq., which was enacted to response to the growing number of automobile thefts
  28 around the country. In 1966, Congress passed the National Traffic and Motor
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   1 Vehicle Safety Act, which is overseen by NHTSA, a sub-agency of the Department
   2 of Transportation. NHTSA promulgates several federal motor vehicle safety
   3 standards (“FMVSS”) including FMVSS 114, which requires certain minimal theft-
   4 protection standards for nearly all passenger vehicles in the United States.
   5         20.   FMVSS 114 provides in relevant part that “[e]ach vehicle must have a
   6 starting system which, whenever the key is removed from the starting system
   7 prevents: (a) [t]he normal activation of the vehicle’s engine or motor; and (b)
   8 [e]ither steering, or forward self-mobility, of the vehicle, or both.” 49 C.F.R. §
   9 571.114.
  10         21.   An industry-standard engine immobilizer is the easiest way to satisfy
  11 this requirement “because it locks out the engine control module if an attempt is
  12 made to start the vehicle without the correct key or to bypass the electronic ignition
  13 system.”3
  14         22.   In response to the growing problem of vehicle thefts in the early 1990s,
  15 automobile manufacturers began installing passive engine immobilizers, patented in
  16 1993. Unlike the Automobile-Theft Preventor of 1919, these devices make a car
  17 engine operable only if the correct key having coded information is used rather than
  18 relying on concealed switches. These passive engine immobilizers prevented hot-
  19 wiring by ensuring that a car would not start if the key was not present—whether or
  20 not the ignition was turned or bypassed.
  21         23.   These new engine immobilizers proved effective, and starting in the
  22 late 1990s, several jurisdictions began mandating all new passenger cars have
  23 electronic engine immobilizers installed, including the European Union, Canada,
  24 New Zealand, and Australia. By the 2010s, immobilizers had become standard
  25
  26   3
           Jacqueline Glassman, Interpretation ID: GF005229-2, NHTSA (Sept. 24,
  27 2004), https://www.nhtsa.gov/interpretations/gf005229-
     2#:~:text=This%20responds%20to%20your%20letter,114%2C%20Theft%20Protect
  28 ion.
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   1 equipment for almost every automobile manufacturer in the United States--except
   2 for Hyundai and Kia.
   3
                           Figure1: Percentage
                                             of vehicleserieswitbpassive
                                                                       Immobilizer
                                                                                asstandard
                           equipment by modelyw
   4                   100%
                       90%
   5                   80,,.
                       70\
   6                   60%
                       50'11,

   7                   40,-.
                       30'11,
                       20,-.
   8                   10'11.
                        Of.
   9                           2000'01 '02 '03 ·04 'OS'06 '07 '03 '09 '10 11 t2 '13 '14 '15 '16 '17 '18 '19 '20 '21
                                                                     Model:,eM

  10                    Figure 1: Engine Immobilizers in US V ehicles 4
  11         24.   Engine immobilizers became industry-standard equipment because, as
  12 research supports, they are effective in curbing vehicle theft. For example, the
  13 Highway Loss Data Institute ("HLDI") found "that vehicle theft losses decreased
  14 significantly after factory-installed passive immobilizing antitheft devices were
  15 introduced. "5 One study confirmed that immobilizers lowered the overall rate of car
  16 theft by roughly 50% from 1995 to 2008. 6 By 2019, the annual rate of car thefts had
  17 fallen about 67% from its peak in 1991.
  18
  19
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  24   4
              Highway Loss Data Institute, Vol. 38, Bulletin No. 28 (Dec. 2021),
  25   https://www.iihs.org/media/Oe14bal7-a3c2-4375-8e66-
       081df9101ed2/opm7QA/HLDI%20Research/Bulletins/hldi_bulletin_38-28.pdf.
  26   s      Id.
       6
  27          Jan C. van Ours and Ben Vollaard, The Engine Immobilizer: A Non-Starter
        or Car Thieves, 126 TuE ECON.J. 593, 1264, 1283 (June 2013), available at
  28   https://papers.ssm.com/sol3/papers.cfm?abstract_id=2202165.
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   1       Rates of vehicle theft have plummeted since the 1990s
           Aatesare pe, 100,000 residents
   2       1,200


   3       1,000

            800

   4        600
                                                                                                                                                         Celtfornia
            400
   5        200
                                                                                                                                                         Texas
                                                                                                                                                         United
                                                                                                                                                    - ... States
              0--------------------------1,,ewYorl<
   6                 1986        1988   1990   1992   1994   1996   1998   2000   200?.    2004   :!006   2008   2010   2012   2014   2018   2018    2020


   7       Sauml.FBI
           Cr!'(I• Oreg Morton


   8                                                                           Figure 27
   9           25.               Kia and Hyundai were aware of the evidence and knew engine
  lO immobilizers were effective, too. For example, in 2007, Hyundai argued that its
  11 Azera-a luxury model, and one of few that included an immobilizer-should be
  12 exempt from another anti-theft regulation because the immobilizer was an equally if
  13 not more effective method of deterring and preventing theft. As part of the slew of
  14 evidence that Hyundai presented to NHTSA to support its request for an exemption,
  15 "Hyundai stated that the data shows a dramatic reduction of theft rates due to the
  16 introduction of devices substantially similar to the Hyundai immobilizer device."8
  17 Hyundai's pitch was convincing-NHTSA granted the exemption, finding that
  18 Hyundai "provided adequate reasons for its belief that the [immobilizer] will reduce
  19 and deter theft."9
  20           26.               Despite knowing that engine immobilizers were effective, and decades
  21 of evidence supporting this conclusion, Kia and Hyundai nonetheless chose to only
  22 include the device on their luxury models. This was the case even though including
  23 engine immobilizers on all their models was not cost-prohibitive. Including the
  24
       7
  25        Greg Rosalsky, Planet Money, Someone stole my truck. I got a crash course
     on the wild black market for stolen cars, NPR (Aug. 23, 2022),
  26 hrtps://www.npr.org/sections/money/2022/08/23/1118457271/someone-stole-my-
  27 truck-i-got-a-crash-course-on-the-wild-black-market-for-stolen-cars.
     8
            72 Fed. Reg. § 39662 (July 19, 2007).
  28 9      Id.
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    1 technology would only have cost Hyundai and Kia a few hundred dollars per
    2 vehicle. Moreover, outside the U.S., both companies routinely installed
    3 immobilizers in all models of vehicles sold in the European Union and Canada.
    4        27.   Kia and Hyundai manufactured and distributed the following
    5 automobile models without engine immobilizers or other equivalent technology
    6 between 2011 and 2022:
    7                                    Hvundai                        Kia
                           2011-2022 Accent                     2011-2021 Forte
    8                      2011-2022 Elantra                    2021-2022 KS
                           2013-2020 Elantra GT                 2011-2020 Ootima
    9                      2013-2014 Elantra Couoe              2011-2021 Rio
                           2011-2012 Elantra Tourin£            2011-2021 Sedona
  10                       2011-2014 Genesis Couoe
                           2018-2022 Kona
                                                                2021-2022 Seltos
                                                                2011-2022 Soul
                           2020-2021 Palisade                   2011-2022 Sorento
  11                       2011-2022 Santa Fe                   2011-2022 Sporta_ge
                           2013-2018 Santa Fe Snort
  12                       2019 Santa Fe XL
                           2011-2019 Sonata
  13                       2011-2022 Tucson
                           2012-2017 2019-2021 Veloster
  14                       2020-2021 Venue
                           2011-2012 Veracruz
  15                                             Figure 310
  16         28.   Collectively, the automobiles listed in Figure 3 are referred to
  17 throughout this Complaint as the “Defective Vehicles.”
  18       29. Contradictory to Kia and Hyundai’s representations that the Defective
  19 Vehicles included more advanced technology and safety features than comparable
  20 vehicles on the market, these vehicles were measurably less safe because they were
  21 easily stolen. Once this fact was spread on social media, thefts of Defective Vehicles
  22 ran rampant across the country.
  23
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           See Amended Settlement Agreement, Dkt. No. 228-2 at 4 (Definition of “Class
  28 Vehicle[s]”).
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    1        C.     Kia and Hyundai Misrepresented the Safety and Quality of the
    2               Defective Vehicles and Failed to Disclose the Lack of Industry-
    3               Standard Anti-Theft Technology to Chicago Consumers.
    4        30.    From 2011 through 2022, both Hyundai and Kia made available to
    5 and/or directed advertisements and marketing materials to Chicago consumers that
    6 contained misrepresentations about the quality and safety of the Defective Vehicles
    7 and failed to clearly disclose the lack of industry-standard or equivalent anti-theft
    8 technology.
    9        31.    Chicago makes the following specific misrepresentation/omission
  10 allegations with as much specificity as possible absent access to the information
  11 necessarily available only to Defendants:
  12         32.    Who: Hyundai and Kia intentionally omitted and/or obfuscated the lack
  13 of industry-standard or equivalent anti-theft technology in the Defective Vehicles in
  14 advertisements disseminated and made available to and/or directed to Chicago
  15 consumers while simultaneously touting the quality and safety of the Defective
  16 Vehicles. Chicago is unaware of, and therefore unable to identify, the true names
  17 and identities of the specific individuals responsible for making such statements
  18 while concealing key material information.
  19         33.    What: Defendants’ advertisements and marketing materials for the
  20 Defective Vehicles highlighted the safety and other advanced features that were
  21 included as standard equipment but failed to expressly disclose the lack of engine
  22 immobilizers or equivalent anti-theft technology. Reasonable consumers would
  23 interpret representations about safety to encompass safety from theft.
  24         34.    In most ads, Defendants did not mention engine immobilizers or
  25 equivalent anti-theft technology at all, much less disclose that the vehicles lack this
  26 industry-standard technology. Ads that mentioned immobilizers typically listed
  27 them as a feature in certain premium optional packages; these ads failed to clearly
  28 state that immobilizers were not included as standard equipment in certain, or in
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    1 some cases any, of the models. Such statements are not clear and conspicuous
    2 disclosures that would put Chicago consumers on notice of the lack of an engine
    3 immobilizer or other equivalent anti-theft technology in the Defective Vehicles.
    4         35.   Defendants’ failure to clearly disclose this fact was made more
    5 deceptive by Defendants’ representations in their advertisements and marketing
    6 materials that the Defective Vehicles included more advanced technology and safety
    7 features than other comparable vehicles on the market.
    8         36.   For example, in January 2017, Hyundai’s webpage stated that “[y]ou
    9 can’t overstate the importance of keeping the people you love safe, which is why we
  10 can’t overstate the importance of always striving to make our safety features more
  11 advanced and innovative” and “[i]t’s always been our aim to engineer the safest cars
  12 in the industry.”11 Similarly Kia’s website states that Kia vehicles provide “[a] suite
  13 of advanced safety features designed to give you extra peace of mind,” and that
  14 vehicles are “designed with advanced tech [and] premium features.”12
  15          37.   These same themes are seen in advertisements specific to the Defective
  16 Vehicles. As just one example, the brochure for the 2012 Kia Forte states that the
  17 Forte “has a comprehensive list of advanced safety systems. These safety features
  18 are standard equipment on every Forte.”13
  19          38.   In another example, the brochure for the 2015 Kia Sorento states that
  20 the “Sorento is equipped with technologically advanced features dedicated to
  21 enhance your driving experience.”14 The brochure goes on to state that Kia is
  22
        11
  23           Safety, HYUNDAI, https://web.archive.org/web/20170128134234/
        https://www.hyundaiusa.com/new-thinking/safety.aspx (archived Jan. 28, 2019).
  24    12
               Why Kia, KIA, https://www.kia.com/us/en/why-kia (last visited Apr. 9, 2024).
        13
  25           2012.Kia.Forte, KIA, at 3, https://www.auto-
        brochures.com/makes/Kia/Forte/Kia_US%20Forte_2012.pdf (last visited Apr. 9,
  26    2024).
        14
  27           2015 Sorento, KIA, at 5, https://www.auto-
        brochures.com/makes/Kia/Sorento/Kia_US%20Sorento_2015.pdf (last visited Apr.
  28    9, 2024).
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    1 committed to producing “world-class vehicles” that included “an extraordinary
    2 combination of precision engineering, outstanding performance, innovative features
    3 and advanced safety systems.”15 However, what this brochure fails to mention—
    4 even on the highly detailed Specifications and Features page—is that this vehicle
    5 did not include an engine immobilizer or equivalent anti-theft technology.16
    6         39.   Similarly, Hyundai’s brochure for the 2018 Accent represents to
    7 consumers that “the performance and safety features offered on the all-new Accent
    8 are beyond what you’d expect from a car in its class.”17 The ad then directs
    9 consumers to the list of safety features at the end of the brochure, which like the
  10 brochure for the 2015 Kia Sorento provides a long list of features that are included,
  11 but fails to expressly disclose that the 2018 Hyundai Accent does not include an
  12 engine immobilizer or other equivalent anti-theft technology.18
  13          40.   In its 2016 Full Line brochure, Hyundai advertises that the 2016
  14 Elantra is “filled with the sort of premium features you’d only expect to find on
  15 luxury cars” and that the 2016 Elantra included “performance, safety and
  16 communications technologies so advanced, it’s capable of doing things beyond any
  17 compact car you’ve ever owned.”19 The Specifications and Features page likewise
  18 makes no mention of the vehicle’s lack of an engine immobilizer or equivalent anti-
  19 theft technology.
  20          41.   These are just four examples of Kia and Hyundai’s deceptive
  21 advertising of the Defective Vehicles, but they are representative of similar
  22
        15
  23           Id. at 10.
        16
               Id.
  24    17
               2018 Hyundai Accent, HYUNDAI, at 5,
  25    https://secure.viewer.zmags.com/publication/3a46a32c#/3a46a32c/1 (last visited
        Apr. 9, 2024).
  26    18
               Id. at 11.
        19
  27           2016 Hyundai Full Line, HYUNDAI, at 17, https://www.auto-
        brochures.com/makes/Hyundai/Hyundai_US%20Full_Line_2016.pdf (last visited
  28    Apr. 9, 2024).
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    1 advertisements, including brochures and other advertisements for the following
    2 models and model years of the Defective Vehicles that Chicago has reviewed: Kia
    3 Forte (2012-2020, 2022); Kia Rio (2011-2013, 2015-2020); Kia Soul (2012-2019,
    4 2021-2022); Kia Sorento (2011-2022); Kia Sportage (2011-2020, 2022); Hyundai
    5 Elantra (2016-2022); Hyundai Elantra GT (2018-2019); Hyundai Accent (2011,
    6 2018-2022); Hyundai Palisade (2020-2022); Hyundai Sonata (2016-2019); Hyundai
    7 Santa Fe (2016-2022); Hyundai Santa Fe XL (2019); Hyundai Tucson (2017-2021);
    8 Hyundai Venue (2020-2021); Hyundai Veloster (2016-2017, 2019-2020); and
    9 Hyundai Veracruz (2012).20
  10         42.   The advertisements that Chicago reviewed showed a pattern and
  11 practice of Kia and Hyundai touting the Defective Vehicles as having some of the
  12 most advanced technology and safety features of vehicles on the market but failing
  13 to expressly and clearly disclose that these vehicles lacked engine immobilizers or
  14 equivalent anti-theft technology—even though that technology had become standard
  15 equipment in almost all other vehicles sold in the United States by 2011.
  16         43.   Seventy-seven of the ninety-seven advertisements reviewed did not
  17 mention engine immobilizers or equivalent anti-theft technology at all.21
  18         44.   In eleven of the twenty instances that an advertisement included the
  19 term “immobilizer,” it was only in the small print listing for luxury optional
  20 packages.22 These limited boilerplate disclosures were not clear and conspicuous
  21 and thus failed to put reasonable Chicago consumers on notice of the lack of an
  22 engine immobilizer or other equivalent anti-theft technology in the Defective
  23 Vehicles that did not include these luxury packages.
  24         45.   Out of the ninety-seven advertisements reviewed, only nine listed
  25 immobilizers on the detailed specification and features page and either listed
  26
       20
  27         See Exhibit A for a full list of advertisements that Chicago reviewed.
       21
             Compare Exhibit A with Exhibits B-C.
  28   22
             See Exhibit B for a list of the eleven advertisements.
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    1 immobilizers as a standard feature in only some models or only as a premium
    2 addition.23
    3        46.    On information and belief, there are more advertisements and
    4 marketing materials for the Defective Vehicles not referenced here that contain
    5 substantially similar misrepresentations and omissions.
    6        47.    When: Defendants made the foregoing misrepresentations and material
    7 omissions regarding the Defective Vehicles’ lack of industry-standard or equivalent
    8 anti-theft technology in a substantial number of advertising and marketing materials
    9 disseminated and available to and/or directed to Chicago consumers for the
  10 Defective Vehicles from 2011-2022.
  11         48.    Where: Defendants made the foregoing misrepresentations and
  12 material omissions regarding the Defective Vehicles’ lack of industry-standard or
  13 equivalent anti-theft technology in a substantial amount of advertising and
  14 marketing materials disseminated and available to and/or directed to Chicago
  15 consumers for the Defective Vehicles from 2011-2022 including materials discussed
  16 above and, upon information and belief, print advertising, video advertisements, and
  17 materials made available to consumers at dealerships. On information and belief,
  18 such information was not disclosed in sales documents, displays, advertisements,
  19 warranties, owner’s manuals, or on Defendants’ websites for almost all of the
  20 Defective Vehicles. In the limited instances where “immobilizers” are mentioned in
  21 advertisements, the majority are not clear and conspicuous disclosures that those
  22 vehicles lacked immobilizers or equivalent anti-theft technology as standard
  23 equipment.
  24         49.    Defendants easily could have clearly and conspicuously disclosed this
  25 information in the foregoing materials but chose not to.
  26         50.    How: At the time the Defective Vehicles were advertised to and sold to
  27
  28    23
             See Exhibit C for a list of the nine advertisements.
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    1 Chicago consumers, Defendants knew that the Defective Vehicles were measurably
    2 less safe and more susceptible to theft than almost every other vehicle on the market
    3 that did include an engine immobilizer or equivalent anti-theft technology. Despite
    4 that knowledge, Defendants omitted the lack of engine immobilizers or equivalent
    5 anti-theft technology in almost all their advertisements and marketing materials for
    6 the Defective Vehicles, while simultaneously touting those vehicles as having more
    7 advanced technology and safety features than other vehicles in their class. In the few
    8 instances that advertisements did include mention of “immobilizers,” the majority
    9 were not a clear and conspicuous disclosures that those vehicles lacked
  10 immobilizers or equivalent anti-theft technology as standard equipment.
  11         51.    Defendants knowingly left out or obfuscated information about the lack
  12 of industry-standard or equivalent anti-theft technology that would impact
  13 consumers’ decisions to purchase the Defective Vehicles. Defendants intended that
  14 consumers rely on their deceptive advertising materials in determining whether to
  15 purchase the Defective Vehicles. On information and belief, Defendants intended
  16 that consumers rely on misleading statements and omissions in their deceptive
  17 advertising in order to sell more vehicles to consumers, including consumers in
  18 Chicago, without regard to the harms they would cause consumers.
  19         52.    Omitting and/or failing to clearly and conspicuously disclose this
  20 information rendered Defendants’ statements that the Defective Vehicles included
  21 more advanced technology and safety features than other vehicles in their class
  22 misleading half-truths that would deceive a reasonable consumer in a material
  23 respect. Absent a clear and conspicuous disclosure, a reasonable consumer would
  24 believe that Hyundai’s and Kia’s representations regarding advanced technology
  25 and safety features included anti-theft technology.
  26         53.    The fact that the Defective Vehicles lacked technology that made them
  27 demonstrably easier to steal than other vehicles on the market would be important to
  28 a reasonable consumer, and the failure to clearly and conspicuously disclose that
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    1 fact was a material omission.
    2        54.   Why: Defendants omitted material information and included
    3 misleading half-truths about the Defective Vehicles’ advanced technology and
    4 safety features for the purpose of inducing consumers, including Chicago
    5 consumers, to purchase and/or lease the Defective Vehicles. Without an express
    6 clear and conspicuous disclosure in Defendants’ advertisements and marketing
    7 materials, Chicago consumers had no reasonable way of learning that the Defective
    8 Vehicles were more susceptible to theft than other vehicles on the market.
    9        55.   Thousands of Chicago consumers bought Defective Vehicles from
  10 Defendants; on information and belief, many did so at dealerships in Chicago. On
  11 information and belief, Chicago consumers were exposed to the Defendants’
  12 deceptive advertisements, which Defendants widely disseminated. As discussed in
  13 more detail below, thousands of these consumers have had their Defective Vehicles
  14 stolen and have incurred substantial costs to replace and/or repair the Defective
  15 Vehicles. Many consumers have also seen their insurance premiums increase
  16 because of the lack of engine immobilizers or equivalent anti-theft technology.
  17         56.   A substantial number of Chicago residents have suffered substantial
  18 injury due to Defendants’ failure to include industry-standard or equivalent anti-
  19 theft technology in the Defective Vehicles. Moreover, Defendants intentionally
  20 denied consumers information necessary for them to meaningfully choose to avoid
  21 this injury by, in most instances, intentionally omitting that the Defective Vehicles
  22 lacked anti-theft technology and, in others, failing to clearly and conspicuously
  23 disclose this fact. A reasonable consumer would not otherwise have access to this
  24 critical information absent a clear and conspicuous disclosure from Defendants.
  25         57.   Chicago has received over one-hundred and thirty complaints from
  26 Chicago consumers outlining the hardships that have been caused by Defendants’
  27 deceptive and unfair trade practices.
  28         58.   Consumer T.E. stated that after her 2019 Kia Forte was stolen, she had

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    1 to wait months for a repair shop to take her vehicle because repair shops were
    2 refusing to accept her vehicle due to part shortages and liability from having the
    3 vehicle on their lot. During the months that the consumer was not able to use her
    4 vehicle, she still had to pay her car payment and her now increased insurance rates.
    5 She was even left continuing to make her car payment after trading the vehicle in
    6 because the value of the vehicle had dropped to below the value of the outstanding
    7 amount on her loan.
    8        59.    Consumer E.D. had her 2020 Hyundai Electra stolen on the day of a
    9 family member’s funeral. After her car was stolen, it took her two months to obtain
  10 alternative transportation, during which she was left without transportation to get to
  11 work, and her family had to walk to get groceries and other necessities. During the
  12 time she did not have her vehicle, the consumer had to continue paying her car
  13 payment.
  14         60.    Consumer H.C., age 73, had her 2020 Hyundai Tuscan stolen three
  15 separate times from the parking lot at her senior living community, including at least
  16 one time from a handicap parking spot. Although her vehicle was recovered each
  17 time, it was badly damaged, and the consumer is on a fixed income and could not
  18 afford to fix it. In a news story about her stolen vehicle, the consumer states that the
  19 dealership “should not have let me get out of there without that safety feature” (i.e.,
  20 anti-theft technology).24
  21         61.    Even consumers who have not had their cars stolen are experiencing
  22 hardship. Consumer M.P. stated that she lives in fear each day that her Kia will be
  23 stolen because of the theft crisis, and she is struggling to pay her increased insurance
  24 premiums.
  25
  26    24
            Megan Hickey, Thieves Steal Woman’s Hyundai Three Times from Same
  27 CHA Parking Lot, CBS NEWS (Aug. 24, 2024),
     https://www.cbsnews.com/chicago/news/stolen-hyundai-tucson-cha-patrick-
  28 sullivan-senior-apartments/.
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    1        62.    Some, if not all, of Chicago consumers would not have bought or
    2 leased the Defective Vehicles had they been informed that the Defective Vehicles
    3 were demonstrably easier to steal than almost all other vehicles on the market. Had
    4 Chicago consumers not bought the Defective Vehicles, there would have been fewer
    5 Defective Vehicles in Chicago to steal. The costs that Chicago has incurred to
    6 provide services related to the theft crisis of Defective Vehicles would also have
    7 been less had there been fewer Defective Vehicles in Chicago. The costs Chicago
    8 has incurred are reasonably related to Defendants’ deceptive and unfair advertising
    9 and sale of the Defective Vehicles to Chicago consumers.
  10         D.     Kia’s and Hyundai’s Failure to Include Engine Immobilizers or
  11                Equivalent Technology in the Defective Vehicles Caused a Theft
  12                Crisis in Chicago.
  13         63.    Pushing thousands of cars onto the market without immobilizers or
  14 equivalent anti-theft technology, and without disclosing this defect to customers, led
  15 to an all-too-predictable outcome: thefts of Defective Vehicles skyrocketed.
  16         64.    Specifically, Kia and Hyundai thefts exploded in the summer of 2022
  17 when social media users began posting “how-to” videos depicting how easy it was
  18 to steal the Defective Vehicles because they lacked engine immobilizers or
  19 equivalent anti-theft technology. Videos quickly went viral, showing how a thief
  20 need only remove the plastic cover (called a cowl) under the steering column and
  21 use a USB cable to start the stolen vehicle. This prompted a wave of teens and
  22 young adults, often dubbed the “Kia Boyz,” to start filming themselves and others
  23 engaging in reckless driving and other criminal behavior after stealing Defective
  24 Vehicles. Soon, almost half of all cars stolen in many cities were a Kia or Hyundai.
  25         65.    This theft crisis hit Chicago particularly hard. In August 2022, the
  26 Chicago Police Department’s 15th District announced in a community advisory that,
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  28
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    1 "vehicle theft is up an astounding 767% due to an emerging TikTok challenge."25 In
    2 October 2022, Chicago set a new record-more than 3,100 vehicles were stolen, the
    3 most in any month in the past 20 years. By the year's end, Chicago had experienced
    4 a 55% increase in vehicle thefts-up more than any other city in the U.S.
    5         66.   This rise in vehicle thefts is largely attributable to a massive surge in
    6 stolen Kias and Hyundais. More than 500 Kias or Hyundais were reported stolen in
    7 the first half of2022; over the second half, the number had skyrocketed to over
    8 8,350. In December 2022 alone, Kias and Hyundais made up 60.9% of the 2,700-
    9 plus car thefts in Chicago that month.
   10
   11
   12
                                                         ®HYUnDRI
   13
   14                                                    C>C>C>c::;;;;~



   15
   16         Figure 426                              Figure 527
   17
              67.   Although Kias and Hyundais only make up approximately 7% of the
   18
        vehicles in Chicago, they accounted for 41% of stolen vehicles in 2022-a total of
   19
        over 8,800 thefts. That amounts to about 11% of the City's 36,300 registered Kias
  20
        and about 8% of the City's 53,500 Hyundais being stolen that year.
  21
  22
        25
  23            Audrey Conklin, TikTok car theft challenge: Chicago area sees 767%
        increase in Hyundai, Kia thefts, N.Y. POST (Aug. 25, 2022),
  24    https ://nypost. com/2022/08/25/ chicago-area-sees-increase-in-hyundai-kia-thefts-
  25    due-to-tiktok/.
        26
                Elliot Ramos and Brad Edwards, More than 7,000 Kias and Hyundais have
  26    been stolen in Chicago this year, hitting South and West sides the hardest, CBS
  27    NEWS CHI.(Dec. 14, 2022), https://www.cbsnews.com/chicago/news/kia-hyundais-
        stolen-chicago/.
  28    21      Id.
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    1
    2        Chicago,IL
                                                                                                Kia or Hyundai th•fts \

    3        2,500stolenvehicles




    4        2,000




    5        uoo
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    6
    7
             1,000




             500                   -----
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                                                   -- -- - -
    8                                                                                         Other vehicle thefts
                   Jan2019                       Jan2020        Jan2021           Jan2022   Jun2022

    9
                                                           Figure 628
  10
               68.                 Unfortunately, the thefts show no signs of slowing. In 2023, Kia and
  11
        Hyundai vehicles continued to account for more than 50% of vehicles stolen in the
  12
        City. In January 2023, Kia and Hyundai vehicles accounted for 60.3% of all vehicles
  13
        stolen in Chicago. In July 2023, Kia and Hyundai vehicles continued to account for
  14
        54.3% of all stolen vehicles, with over 1,300 Kia and Hyundai vehicles stolen that
  15
        month alone.
  16
               69.                 By the beginning of October 2023, Chicago already had more
  17
        automobile thefts in 2023 than it had in any of the past 19 years, with Hyundai and
  18
        Kia vehicles accounting for almost half of the vehicles stolen.
  19
               70.                 As detailed further below, the crimes do not end with the theft of these
  20
        motor vehicles: the individuals responsible for these crimes often engage in further
  21
        criminal misconduct that create public safety issues, including but not limited to
  22
        reckless driving, additional armed robberies, and even deaths.
  23
  24
  25
  26
  27
        28
           Car thefts are rising. Is a TikTok challenge to blame?, USA FACTS (Mar. 26,
  28 2023), https://usafacts.org/data-projects/car-thefts.
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    1        E.     Defendants’ Failure to Include Engine Immobilizers or Equivalent
    2               Anti-Theft Technology Has Disproportionately Impacted Low-
    3               Income Chicago Residents.
    4        71.    Chicago’s residents have been deeply impacted by the Kia and Hyundai
    5 theft crisis, whether or not they personally own the Defective Vehicles. Individual
    6 owners suffer financial harm when their Defective Vehicles are stolen, damaged,
    7 and vandalized. Victims of vehicle theft have expressed frustration at the significant
    8 out-of-pocket costs and impacts on their daily lives. Even if theft victims are lucky
    9 enough to have their Kia or Hyundai recovered by police and returned, they are
  10 almost always ransacked, damaged, or totaled altogether. One Chicagoan even had
  11 her 2019 Kia Optima stolen twice in one day—after police found the car damaged,
  12 they took it to an auto repair shop, and it was stolen again later that day.29
  13         72.    Another owner, a single mother, had her 2021 Kia Forte stolen in
  14 October 2022.30 Police found the vehicle—trashed but not totaled—and repairs were
  15 anticipated to take until springtime to complete due to a backlog in replacement
  16 parts. She was left paying $1,500 per month out-of-pocket for a rental car since her
  17 insurance only covered 30 days. Meanwhile, she still owes Kia her $400 monthly
  18 payment, which Kia refused to budge on despite the circumstances.
  19         73.    Because the Defective Vehicles are entry-level models and relatively
  20 low priced, the impact of the surge in car theft is being felt disproportionally among
  21 communities of moderate and low means. The Chicago neighborhoods hardest hit by
  22 the surge in Kia and Hyundai thefts—Austin, South Shore, and the West Side—are
  23 also some of the lowest-income areas in the City. These theft victims and their
  24 families are often reliant on that single vehicle and have fewer resources to pay for
  25
  26    29
           Ramos & Edwards, supra, n.26.
        30
  27       Tara Molina, Chicago woman’s Kia will be under repair until spring after
     being stolen, found -- and she’s stuck with all the bills, CBS NEWS CHI. (Dec. 16,
  28 2022), https://www.cbsnews.com/chicago/news/chicago-kia-theft-insurance-bills/.
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    1 alternative transportation or repair a recovered vehicle. Because many rely on their
    2 vehicles to get to work, medical appointments, or fetch groceries for their kids, they
    3 risk losing their jobs and worse.
    4        74.    Costs for repairing broken windows, steering columns, and other
    5 damage often exceed $10,000. And even if Kia and Hyundai owners can afford
    6 those repairs, they have been delayed days or weeks because the rise of thefts has
    7 created a backlog for replacement parts.
    8        75.    Even owners of Defective Vehicles who have been lucky enough not to
    9 have their cars stolen are suffering. As a result of the Kia and Hyundai theft crisis,
  10 major insurers including Allstate and Progressive have refused to insure the models
  11 most susceptible to theft. Meanwhile owners with existing policies have seen
  12 insurance prices for their Kias and Hyundais increase by $200 per year, if not more.
  13         76.    Kia and Hyundai marketed the Defective Vehicles as having more
  14 advanced technology and safety features than comparable vehicles on the market,
  15 knowing the Defective Vehicles lacked industry-standard anti-theft equipment that
  16 made them more susceptible to theft. Defendants had every reason to know that their
  17 vehicles could be easily stolen without engine immobilizers or equivalent anti-theft
  18 technology but intentionally omitted that fact in the majority of their advertising and
  19 marketing materials. These unlawful misrepresentations and omissions have left
  20 thousands of Chicago’s most vulnerable residents with unsafe and, in some cases,
  21 uninsurable vehicles.
  22         F.     Defendants’ Failure to Include Immobilizers or Equivalent
  23                Technology Drains the City’s Law Enforcement and Emergency
  24                Response Resources and Imperils Public Safety.
  25         77.    Harms to individual owners are just the beginning. Cars operated by
  26 unauthorized persons are more likely to cause accidents, personal injury, and death.
  27 When NHTSA promulgated the FMVSS in 1971, it included FMVSS 114,
  28 addressing theft protection. In promulgating the Federal Motor Vehicle and Safety
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    1 Standard 114, NHTSA recognized that car theft has significant impacts on public
    2 safety, concluding that “stolen cars constitute a major hazard to life and limb on the
    3 highways.”31
    4        78.    According to NHTSA, “evidence shows that cars operated by
    5 unauthorized persons are far more likely to cause unreasonable risk of accident,
    6 personal injury, and death than those which are driven by authorized individuals.”32
    7 The NHTSA Administrator also concluded that “a reduction in the incidence of auto
    8 theft would make a substantial contribution to motor vehicle safety,” by reducing
    9 both injuries and deaths to would-be car thieves, and by “protect[ing] the many
  10 innocent members of the public who are killed and injured by stolen cars each
  11 year.”33
  12         79.    Unfortunately, the reverse is also true. An increase in the incidence of
  13 automobile theft results in a substantial decrease in public safety. Car theft results in
  14 reckless driving, which poses a risk to both the operators of the stolen vehicles and
  15 any lawful users of the public thoroughfare who are unfortunate enough to cross
  16 paths with them. Thieves commonly use stolen vehicles to commit further crimes.
  17         80.    The risks are even more heightened with the new wave of Kia and
  18 Hyundai car thefts. In contrast to car thefts where the object is to convert the stolen
  19 vehicles without being caught, Kia and Hyundai theft often involves teens and
  20 young adults who steal cars to post videos of themselves recklessly joyriding or
  21 using the cars to commit other crimes. The car thefts and associated videos often
  22 take place during busy hours of the day when roads are more congested. As a result,
  23 there is a higher likelihood of injury and even death.
  24         81.    These risks are far from hypothetical. In February 2023, NHTSA
  25
  26    31
            33 Fed. Reg. 6471 (April 27, 1968),
  27 https://archives.federalregister.gov/issue_slice/1968/4/27/6469-6472.pdf#page=3.
     32
            Id.
  28 33     Id.
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    1 reported that this new social media trend had already resulted in at least 14 car
    2 crashes and 8 fatalities.34 Two 14-year-old boys were killed and another injured after
    3 they crashed a stolen Hyundai Sonata.35 Pedestrians have also been killed by stolen
    4 Defective Vehicles. And victims of stolen Kia and Hyundai vehicles face violence
    5 when they try to confront culprits. One woman who intervened in a theft in progress
    6 was killed.36
    7         82.     Chicago has been one of the cities hit hardest by this violence.
    8 According to the Chicago Police Department (“CPD”), criminals used stolen
    9 Hyundais in more than a dozen murders from October 2022 through January 2023.
  10          83.     More recently, four people used a stolen Hyundai to commit a series of
  11 crimes that ended with the murder of CPD Officer Areanah Preston.37
  12          84.     In April 2023, a 6-month-old was killed in Chicago after a stolen
  13 Hyundai blew through a red light at top speed and struck the pickup truck the baby’s
  14 mom was driving.38 The Hyundai thieves were 14 and 17 years old.
  15          85.     In another incident, a stolen Hyundai burst into flames after slamming
  16
        34
  17           Hyundai and Kia Launch Service Campaign to Prevent Theft of Millions of
        Vehicles Targeted by Social Media Challenge, NHTSA (Feb. 14, 2023),
  18    https://www.nhtsa.gov/press-releases/hyundai-kia-campaign-prevent-vehicle-theft.
        35
  19           Dean Narciso and Zaria Johnson, Two 14-year-old boys killed in overnight
        crash involving stolen car, another hospitalized, THE COLUMBUS DISPATCH (July
  20    25, 2023), https://www.dispatch.com/story/news/crime/2022/07/25/adult-and-
  21    juvenile-were-killed-crash-involving-stolen-car/10142235002/.
        36
               Michele Fiore, 13-year-old charged as adult in deadly Wauwatosa hit-and-
  22    run, CBS 58 (Oct. 20, 2021), https://www.cbs58.com/news/13-year-old-charged-as-
  23    adult-in-deadly-wauwatosa-hit-and-run.
        37
               John Dodge, Chicago Police Officer Areanah Preston murder: A timeline of
  24    the case, CBS NEWS CHI. (May 10, 2023),
  25    www.cbsnews.com/chicago/news/chicago-police-officer-areanah-preston-murder-a-
        timeline-of-the-case/.
  26    38
               Cate Cauguiran, Family seeks upgraded charges for 2 teens after baby killed
  27    in West Garfield Park stolen car crash, ABC7 CHI. (Apr. 24, 2023),
        https://abc7chicago.com/cristian-uvidia-west-garfield-park-chicago-crash-kim-
  28    foxx/13181868/.
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    1 into the back of a City-owned sanitation truck around 10:45 am.39 The vehicle was
    2 suspected to be involved in a string of five armed robberies earlier that morning.
    3 One victim said she was walking to her car with her friends when several men got
    4 out of a car and demanded their purses at gunpoint. One of the robbers pistol-
    5 whipped the victim in the face.
    6         86.   On August 1, 2023, Chicago news outlets reported that a rideshare
    7 driver was robbed at gunpoint, with shots fired and his vehicle stolen.40 The stolen
    8 Hyundai Sonata was then reportedly used in at least eight armed robberies.
    9         87.   As recent as August 7, 2023, it was reported that five incidents of
  10 armed robbery occurred using stolen Kias and Hyundais in just one night.41
  11          88.   The Kia and Hyundai theft crisis has translated into heightened
  12 demands on the City of Chicago’s police force and other public safety resources.
  13 Chicago has been left to combat the thefts, related crimes, and respond to property
  14 damage and injuries to the public. In addition to responding to and investigating
  15 thefts, Chicago will have to continue to expend resources on public awareness
  16 outreach, as well as bear the costs associated with increased rates of reckless
  17 driving, car accidents, and resulting fatalities.
  18          89.   According to CPD Patrol Chief Brian McDermott, these stolen cars are
  19 continually being used at an alarming rate in violent crimes, including homicides.
  20
        39
  21           Mugo Odigwe and Andrew Ramos, Car believed tied to at least one armed
        robbery crashes, catches fire in Lincoln Square; 4 in custody, CBS NEWS CHI. (Dec.
  22    12, 2022), https://www.cbsnews.com/chicago/news/armed-robberies-north-side/.
        40
  23           Rideshare driver among 8 robbed by armed men in stolen Hyundai; shots
        fired, CWB CHI. (Aug. 1, 2023), https://cwbchicago.com/2023/08/stolen-hyundai-
  24    used-eight-robberies-shots-fired-chicago-rideshare.html.
        41
  25           ABC7 Chicago Digital Team, Chicago police: At least 5 victims targeted in
        North Side armed robbery spree, ABC7 NEWS (Aug. 8, 2023),
  26    https://abc7chicago.com/chicago-armed-robberies-robbery-crime-
  27    crimes/13616985/?ex_cid=TA_WLS_TW&taid=64d216dda74c5f0001789ba3&utm
        _campaign=trueAnthem%3A+Trending+Content&utm_medium=trueAnthem&utm
  28    _source=twitter.
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    1 CPD has invested time and resources in getting theft prevention education and
    2 devices out to the community, including tracking tags and steering wheel locks. The
    3 City has also reimbursed owners of the Defective Vehicles for the cost of GPS
    4 tracking devices for the cars, which assist with police investigations and recovery
    5 efforts.
    6        90.    Despite the City’s best efforts, the nuisance of the Kia and Hyundai
    7 theft crisis continues. The Kia and Hyundai theft crisis and the costs incurred by
    8 Chicago were foreseeable outcomes that Defendants could have prevented had they
    9 simply chosen to make the same investment as other manufacturers—and indeed the
  10 same one they made in overseas markets—and include engine immobilizers or
  11 equivalent anti-theft technology as standard equipment in the Defective Vehicles.
  12         G.     Defendants’ Response to the Theft Crisis Has Been Woefully
  13                Inadequate.
  14         91.    To date, Defendants’ response to the crisis has shown a continued
  15 prioritization of profits over safety. After Illinois Attorney General Kwame Raoul
  16 and 21 other state Attorneys General urged Kia and Hyundai to take
  17 “comprehensive action” over car thefts, the companies instead promised to provide
  18 wheel locks for municipalities to distribute and began rolling out “software
  19 updates,” rather than recalling the vehicles to install engine immobilizers or
  20 equivalent anti-theft technology.
  21         92.    Moreover, Kia and Hyundai failed to timely provide steering wheel
  22 locks to Chicago. CPD asked Hyundai to provide steering wheel locks that CPD
  23 could distribute to Hyundai owners in the City. Hyundai provided fewer than 20
  24 locks by the end of 2022, resulting in churches and local businesses donating locks
  25 to CPD instead.
  26         93.    In January 2023, Chicago’s Police Superintendent sent letters to
  27 Hyundai and Kia explaining the ongoing public safety crisis caused by the thefts and
  28 asking the companies to help address it by recalling or installing immobilizers in the
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    1 Defective Vehicles. Hyundai responded by asserting that their “software fix,”
    2 discussed below, would remediate the problem going forward. But the software
    3 updates have failed to stymy the vehicle theft spree, as Hyundai promised.
    4         94.   These band-aid solutions are too little, too late. The software update
    5 extends the length of the car alarm from 30 seconds to one minute and purportedly
    6 requires a key to be in the ignition to start the car. Hyundai notes that for its update
    7 to work, the consumer must lock their door with their key or the key fob button in
    8 order to set the factory alarm and activate the software’s “ignition kill” feature.
    9         95.   But these software updates’ efficacy is untested in the real world. In
  10 fact, consumers who received the updates—which are still being rolled out—have
  11 already begun reporting that their Kia and Hyundai vehicles were stolen even after
  12 they received the software update. One owner had his 2020 Kia Optima stolen a
  13 mere fifteen hours after leaving the Kia dealership and receiving the update.42 Police
  14 later found the vehicle, but it was totaled—the front end was smashed, rear window
  15 missing, steering column ripped apart, both airbags deployed, live ammunition in
  16 the center console, and, most notably, a USB port jammed into the steering column.
  17 A 2017 Hyundai Sonata owner had a similar experience.43
  18          96.   As of July 2023, only approximately 15% of the eligible vehicles had
  19 received the software upgrade. Especially as thefts continue despite the software
  20 upgrades, consumers may be deterred from spending the time to visit a dealership to
  21 get the technology installed.
  22          97.   Even if the software updates were rolled out widely, and proved
  23
        42
            Devin Bartolotta, First case of Kia stolen after security software upgrade
  24 reported in New Orleans, WWL NEWS (May 15, 2023),
  25 https://www.wwltv.com/article/news/crime/first-case-kia-stolen-after-security-
     software-upgrade-reported-new-orleans-sweeps-crime-local-news/289-c789eed8-
  26 bc46-4e0a-83fb-7489563300ce.
  27 43     Dave D’Marko, Hyundai, Kia owners report thefts despite software upgrade,
     FOX4 KANSAS CITY NEWS (May 17, 2023), https://fox4kc.com/news/hyundai-kia-
  28 owners-report-thefts-despite-software-upgrade/.
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    1 effective, they come too late to prevent the ongoing nuisance that the Defective
    2 Vehicles created and the expenses that Chicago has incurred and continues to incur.
    3 Further, it is not clear that the update will cover all models, and for those not
    4 covered, Defendants are offering nothing more than wheel locks or rebates for
    5 already purchased wheel locks. The reality is that the software update and wheel
    6 locks are not sufficiently slowing thefts in Chicago and thus do not address the harm
    7 caused by Defendants failing to include engine immobilizers or equivalent anti-theft
    8 technology as standard equipment.
    9        98.    Kia’s and Hyundai’s software-based approach is yet another example
  10 of Defendants pursuing profits over safety. While less expensive than installing
  11 engine immobilizers, those savings come at the expense of efficacy and usability.
  12 Defendants have effectively passed safety costs on to Chicago, which is pouring
  13 resources into responding to thefts and associated crimes, educating the community,
  14 distributing anti-theft steering wheel locks, and reimbursing for GPS trackers
  15 installed on Defective Vehicles.
  16         99.    Adding insult to injury, before all the negative publicity surrounding
  17 the theft crisis and prior to announcing the free software update, Hyundai tried to
  18 take advantage of the crisis it created by selling security kits for $170, plus the cost
  19 of installation. Defendants could have, and should have, initially included a fob-
  20 integrated engine immobilizer or equivalent anti-theft technology, consistent with
  21 the industry standard. Even after the Defective Vehicles were sold without this
  22 component, Defendants could have implemented a mandatory recall, as state
  23 Attorneys General have insisted. Instead, Hyundai chose to turn greater profits off
  24 the theft crisis it caused. Without Defendants taking more aggressive action to
  25 correct the problem they created, thefts of Kia and Hyundai vehicles have continued
  26 unabated.
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    1                             FIRST CAUSE OF ACTION
    2                              Violation of MCC 4-276-470
    3                               Deceptive Trade Practices
    4          100. Chicago incorporates each preceding paragraph as though set forth
    5 fully.
    6          101. The acts and practices engaged in by Defendants, and described in this
    7 Complaint, constitute deceptive business practices in violation of the MCC § 4-276-
    8 470.
    9          102. MCC § 4-276-470 states that a person may not “act, use or employ any
  10 deception, fraud, false pretense, false promise or misrepresentation, or to conceal,
  11 suppress or omit any material fact with intent that others rely upon such
  12 concealment, suppression or omission, in connection with the sale . . . or
  13 advertisement of any merchandise, whether or not any person has in fact been
  14 misled.”
  15           103. Kia and Hyundai are persons as defined by MCC § 1-4-090(e), which
  16 includes “any natural individual, firm, trust, partnership, association, joint venture,
  17 corporation or other legal entity.”
  18           104. Defendants engaged in trade and commerce in Chicago by advertising
  19 the Defective Vehicles to Chicago consumers, which thousands of Chicago
  20 consumers purchased. On information and belief, a substantial number of Chicago
  21 consumers purchased the Defective Vehicles from dealerships in Chicago. On
  22 information and belief, a substantial number of Chicago consumers saw Defendants’
  23 deceptive advertisements and considered that information when deciding to
  24 purchase the Defective Vehicles.
  25           105. Defendants engaged in deceptive trade practices in violation of MCC
  26 § 4-276-470. Specifically, Defendants intentionally misrepresented that the
  27 Defective Vehicles included more advanced technology and safety features than
  28 comparable vehicles on the market. Defendants failed to clearly and conspicuously
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    1 disclose to consumers that the Defective Vehicles lacked an engine immobilizer or
    2 equivalent anti-theft technology. Defendants made the foregoing misrepresentations
    3 and omissions in their advertising intending to induce more consumers to buy the
    4 Defective Vehicles.
    5        106. Defendants’ omission and/or obfuscation of the lack of industry-
    6 standard anti-theft technology was material because this information is the kind a
    7 buyer would be expected to rely on in deciding whether to purchase a vehicle, and a
    8 buyer who knew about the lack of industry-standard antitheft technology in the
    9 Defective Vehicles would have acted differently, such as not buying the vehicle.
  10         107. Defendants specifically placed profits ahead of the health and safety of
  11 others by intentionally omitting and concealing material facts about the Defective
  12 Vehicles’ lack of engine immobilizer or equivalent technology and the ease with
  13 which they can be stolen.
  14         108. Under MCC § 4-276-480 “[e]ach violation of this section shall be
  15 considered a separate and distinct offense and shall be regarded as being committed
  16 on each day on which such person shall continue or permit any such violation.”
  17 Each day that Defendants engaged and/or engages in deceptive marketing of the
  18 Defective Vehicles and/or sold and/or sells a Defective Vehicle to a Chicago
  19 consumer constitutes a separate and distinct offense of MCC § 4-276-470.
  20         109. WHEREFORE, Chicago respectfully requests that this Court enter an
  21 order (a) awarding judgment in the Chicago’s favor on its First Cause of Action; (b)
  22 declaring that Defendants have violated MCC § 4-276-470; (c) enjoining
  23 Defendants from engaging in further deceptive practices in violation of MCC
  24 § 4-276-470; (d) assessing Defendants fines of $2,000 for each offense under MCC
  25 § 4-276-480; (e) awarding Chicago its costs of investigation and suit, including
  26 reasonable attorneys’ fees and costs, to the extent allowable; (f) awarding Chicago
  27 pre- and post-judgment interest, to the extent allowable; and (g) awarding such
  28 other, further, and different relief as this Court deems reasonable and just.
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    1                            SECOND CAUSE OF ACTION
    2                              Violation of MCC § 2-25-090
    3                                Deceptive Trade Practices
    4          110. Chicago incorporates each preceding paragraph as though set forth
    5 fully.
    6          111. MCC § 2-25-090 prohibits “any act of consumer fraud, unfair method
    7 of competition, or unfair or deceptive act or practice while conducting any trade or
    8 business in the city,” including “[a]ny conduct constituting an unlawful act or
    9 practice under the Illinois Consumer Fraud and Deceptive Business Practices
  10 Act . . . or constituting a violation of . . . any other section of this Code relating to
  11 business operations or consumer protection.”
  12           112. The Illinois Consumer Fraud and Deceptive Business Practices Act
  13 (“ICFA”) makes unlawful, among other things, “unfair or deceptive acts or
  14 practices, including but not limited to the use or employment of any deception fraud,
  15 false pretense, false promise, misrepresentation or the concealment, suppression or
  16 omission of any material fact, with intent that others rely upon the concealment,
  17 suppression or omission of such material fact, or the use or employment of any
  18 practice described in Section 2 of the ‘Uniform Deceptive Trade Practices Act.’”
  19 815 ILCS 505/2.
  20           113. Section 2 of the Uniform Deceptive Trade Practices Act, 815 ILCS
  21 510/2, provides that a person engages in a deceptive trade practice when, in the
  22 course of his or her business, vocation, or occupation, the person “represents that
  23 goods or services are of a particular standard, quality or grade” or “engages in any
  24 other conduct which similarly creates a likelihood of confusion or
  25 misunderstanding.” 815 ILCS 510/2.
  26           114. Defendants engaged in trade and commerce in Chicago by advertising
  27 and selling the Defective Vehicles to Chicago consumers, which thousands of
  28 Chicago consumers purchased. On information and belief, a substantial number of
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    1 Chicago consumers purchased the Defective Vehicles from dealerships in Chicago.
    2 On information and belief, a substantial number of Chicago consumers saw
    3 Defendants’ deceptive advertisements and considered that information when
    4 deciding to purchase the Defective Vehicles.
    5        115. Defendants engaged in deceptive trade practices in violation of MCC
    6 § 2-25-090. Specifically, Defendants intentionally misrepresented that the Defective
    7 Vehicles included more advanced technology and safety features than comparable
    8 vehicles on the market. Defendants failed to clearly and conspicuously disclose to
    9 consumers that the Defective Vehicles lacked an engine immobilizer or equivalent
  10 anti-theft technology. Defendants made the foregoing misrepresentations and
  11 omissions in their advertising intending to induce more consumers to buy the
  12 Defective Vehicles.
  13         116. Defendants’ omission and/or obfuscation of the lack of industry-
  14 standard anti-theft technology was material because this information is the kind a
  15 buyer would be expected to rely on in deciding whether to purchase a vehicle, and a
  16 buyer who knew about the lack of industry-standard anti-theft technology in the
  17 Defective Vehicles would have acted differently, such as not buying the vehicle.
  18         117. Defendants specifically placed profits ahead of the health and safety of
  19 others by intentionally omitting and concealing material facts about the Defective
  20 Vehicles’ lack of engine immobilizer or equivalent anti-theft technology and the
  21 ease with which they can be stolen.
  22         118. MCC § 2-25-090(h) provides that “[e]ach day that a violation continues
  23 or occurred, and each violation committed per day, shall constitute a separate and
  24 distinct offense to which a separate fine shall apply.” Each day that Defendants
  25 engaged or engage in deceptive marketing of the Defective Vehicles and/or sold
  26 and/or sell a Defective Vehicle to a Chicago consumer constitutes a separate and
  27 distinct offense of MCC § 2-25-090.
  28         119. WHEREFORE, Chicago respectfully requests that this Court enter an

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    1 order (a) awarding judgment in the Chicago’s favor on its Second Cause of Action;
    2 (b) declaring that Defendants have violated MCC § 2-25-090; (c) enjoining
    3 Defendants from engaging in further deceptive practices in violation of MCC
    4 § 2-25-090; (d) awarding restitution for impacted consumers; (e) ordering
    5 disgorgement of profits Defendants obtained through their unlawful deceptive
    6 practices; (f) assessing Defendants fines of $10,000 for each offense under MCC
    7 § 2-25-090; (g) awarding Chicago its costs of investigation and suit, including
    8 reasonable attorneys’ fees and costs; (h) awarding Chicago pre- and post-judgment
    9 interest, to the extent allowable; and (i) awarding such other, further, and different
  10 relief as this Court deems reasonable and just.
  11                               THIRD CAUSE OF ACTION
  12                               Violation of MCC § 2-25-090
  13                                  Unfair Trade Practices
  14          120. Chicago incorporates each preceding paragraph as though set forth
  15 fully.
  16          121. MCC § 2-25-090 prohibits “any act of consumer fraud, unfair method
  17 of competition, or unfair or deceptive act or practice while conducting any trade or
  18 business in the city,” including “[a]ny conduct constituting an unlawful act or
  19 practice under the Illinois Consumer Fraud and Deceptive Business Practices
  20 Act . . . or constituting a violation of . . . any other section of this Code relating to
  21 business operations or consumer protection.”
  22          122. The ICFA makes unlawful, among other things:
  23
  24          [u]nfair methods of competition and unfair or deceptive acts or practices . . .
  25          In construing this section consideration shall be given to the interpretations of
  26          the Federal Trade Commission and the federal courts relating to Section 5(a)
  27          of the Federal Trade Commission Act.
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    1 815 ILCS 505/2.
    2        123. In determining whether an act or practice is unfair, the Federal Trade
    3 Commission considers the following factors which have been adopted by Illinois
    4 courts in interpreting the ICFA: (1) whether the practice offends public policy; (2)
    5 whether it is immoral, unethical, oppressive, or unscrupulous; (3) whether it causes
    6 substantial injury to consumers. Robinson v. Toyota Motor Credit Corp., 201 Ill. 2d
    7 403, 417–18 (Ill. 2002).
    8
    9        All three criteria do not need to be satisfied to support a finding of unfairness.
  10         A practice may be unfair because of the degree to which it meets one of the
  11         criteria or because to a lesser extent it meets all three.
  12
  13 Id. at 418 (citation omitted).
  14         124. Defendants engaged in unfair trade practices in violation of MCC
  15 § 2-25-090. Defendants’ conduct violates public policy and was immoral, unethical,
  16 oppressive, and unscrupulous. At the time of Defendants’ advertising and sale of the
  17 Defective Vehicles, Defendants knew engine immobilizers were effective and that
  18 manufacturing and selling vehicles without this industry-standard or equivalent anti-
  19 theft technology made the Defective Vehicles unreasonably susceptible to theft and
  20 created an unreasonable risk to public safety.
  21         125. The public policy against the manufacture and sale of cars
  22 unreasonably susceptible to theft has been recognized by the NHTSA since the
  23 promulgation of the FMVSS in the 1970s and adopted as standard in the United
  24 States motor vehicle industry, where nearly all vehicles produced by other
  25 manufacturers included engine immobilizers as standard equipment.
  26         126. Nevertheless, Defendants continued to manufacture and sell Defective
  27 Vehicles without industry-standard or equivalent anti-theft equipment and
  28 obfuscated critical information regarding the Defective Vehicles, touting those
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    1 vehicles as leaders in safety and quality. Defendants continued to market, distribute,
    2 and sell Defective Vehicles with deliberate and/or intentional disregard for making
    3 any warning, instruction, or other precaution to prevent injuries and/or theft and
    4 thereby showed complete indifference to and/or conscious disregard for the safety of
    5 others.
    6        127. Absent a clear and conspicuous disclosure by Defendants, consumers
    7 had no reasonable way of learning that the Defective Vehicles lacked industry-
    8 standard or equivalent anti-theft technology that made the vehicles demonstrably
    9 more susceptible to theft than almost all other vehicles on the market. Defendants’
  10 omission and/or obfuscation of this information denied consumers meaningful
  11 choice in determining whether to purchase the Defective Vehicles.
  12         128. The failure of Defendants to include industry-standard or equivalent
  13 anti-theft technology also caused substantial injury to consumers. Defendants’
  14 actions impacted a substantial number of Chicago consumers. Thousands of
  15 Chicago consumers bought Defective Vehicles and had their vehicles stolen and/or
  16 totaled. The impact on each consumer was also substantial, with the cost of
  17 repairing and/or replacing a vehicle often totaling in the thousands of dollars. Even
  18 more Chicago consumers were impacted by having their insurance rates increase.
  19 These injuries also disproportionately impacted low-income Chicago consumers.
  20         129. The wave of thefts of Defective Vehicles in Chicago would have been
  21 prevented had Defendants included engine immobilizers or equivalent anti-theft
  22 technology.
  23         130. When thefts of Defective Vehicles spiked, Defendants also failed to
  24 take adequate action to both notify consumers of the increased risk and to remove
  25 these dangerous vehicles from the market.
  26         131. As a direct and foreseeable result of Defendants manufacturing and
  27 selling unreasonably dangerous vehicles, public safety in Chicago has been
  28 imperiled and Chicago has borne the burden to mitigate the damage caused by
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    1 Defendants’ actions.
    2         132. Defendants also caused substantial injury to consumers. Chicago
    3 consumers have been left with Defective Vehicles that are increasingly becoming
    4 uninsurable. If those vehicles are stolen, consumers—who are disproportionately
    5 low-income—are often stuck continuing to pay a car payment for a stolen or totaled
    6 vehicle and paying hundreds if not thousands of dollars to repair their vehicles once
    7 recovered.
    8         133. MCC § 2-25-090(h) provides that “[e]ach day that a violation continues
    9 or occurred, and each violation committed per day, shall constitute a separate and
  10 distinct offense to which a separate fine shall apply.” Each day that Defendants
  11 engaged and/or engage in unfair trade practices in their selling and failure to warn of
  12 the dangers of Defective Vehicles and/or sold and/or sell a Defective Vehicle to a
  13 Chicago consumer constitutes a separate and distinct offense of MCC § 2-25-090.
  14          134. WHEREFORE, Chicago respectfully requests that this Court enter an
  15 order (a) awarding judgment in the Chicago’s favor on its Third Cause of Action;
  16 (b) declaring that Defendants have violated MCC § 2-25-090; (c) enjoining
  17 Defendants from engaging in further unfair practices in violation of MCC
  18 § 2-25-090; (d) awarding restitution for impacted consumers; (e) ordering
  19 disgorgement of profits Defendants obtained through their unlawful unfair practices;
  20 (f) assessing Defendants fines of $10,000 for each offense under MCC § 2-25-090;
  21 (g) awarding Chicago its costs of investigation and suit, including reasonable
  22 attorneys’ fees and costs; (h) awarding Chicago pre- and post-judgment interest, to
  23 the extent allowable; and (i) awarding such other, further, and different relief as this
  24 Court deems reasonable and just.
  25                            FOURTH CAUSE OF ACTION
  26                                     Public Nuisance
  27          135. Chicago incorporates each preceding paragraph as though set forth
  28 fully.
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    1        136. At all times relevant to this litigation, Defendants have been the
    2 manufacturers, marketers, and/or distributors of the Defective Vehicles being stolen
    3 at record rates, and which are being used in the commission of other violent crimes
    4 in Chicago.
    5        137. By designing, manufacturing, and distributing Defective Vehicles,
    6 Defendants have created, contributed to, and maintained a public nuisance that
    7 unreasonably interferes with a right common to the public.
    8        138. Defendants knew or should have known that their unlawful conduct has
    9 a significant effect on public rights and endangers the safety of the public in
  10 Chicago.
  11         139. Defendants knew that engine immobilizers were effective at preventing
  12 theft and included them in vehicles Defendants sold outside the United States. It was
  13 foreseeable to Defendants that failing to include engine immobilizers or equivalent
  14 anti-theft technology in the Defective Vehicles would result in increased rates of
  15 theft of Defective Vehicles and increased costs to Chicago for responding to those
  16 thefts and related crimes.
  17         140. At minimum, Defendants knew or had reason to know that this
  18 interference with public safety was a substantially certain outcome of their conduct.
  19         141. By intentionally foregoing the installation of engine immobilizers or
  20 equivalent anti-theft technology in the Defective Vehicles, Defendants directly
  21 facilitated the rapid increase in vehicle theft and, with it, created a public nuisance in
  22 Chicago.
  23         142. Chicago and its residents have a common right to be free from conduct
  24 that interferes with the peaceful use of public streets, sidewalks, commerce, travel,
  25 and the quality of daily life.
  26         143. Defendants have endangered and harmed the public, undermined law
  27 enforcement efforts to deter vehicle theft, and otherwise diverted scarce law
  28 enforcement and first responder resources.
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    1        144. Defendants’ conduct has directly caused a severe disruption of the
    2 public welfare, order, and safety. Defendants’ conduct is ongoing and continues to
    3 produce permanent and long-lasting damage.
    4        145. Defendants’ conduct substantially interferes with the public’s right to
    5 safe and reasonable access to public thoroughfares.
    6        146. Defendants’ conduct has affected and continues to affect a substantial
    7 number of people within Chicago’s community and is likely to continue causing
    8 significant harm.
    9        147. The nuisance created by Defendants’ conduct is abatable.
  10         148. Defendants could have avoided this public nuisance by installing
  11 engine immobilizers or equivalent anti-theft technology at the time of manufacture.
  12 Defendants acted unreasonably in light of what conduct could be foreseen as a result
  13 of their conduct, and Defendants’ conduct was a factual and proximate cause of the
  14 injuries, harm, and economic losses that Chicago has suffered and will continue to
  15 suffer.
  16         149. As a result of Defendants’ conduct, Chicago has suffered and will
  17 continue to suffer economic damages, including significant expenditures for police,
  18 emergency, health, and other services and has suffered property damage to City
  19 property, including City property damaged by stolen Defective Vehicles and
  20 property damage on public roads in Chicago. Chicago also has expended and will
  21 continue to expend funds on public outreach and theft prevention measures to abate
  22 the nuisance. Chicago will continue to incur such damages until the nuisance is
  23 abated. These damages are particular to Chicago and are different in kind and degree
  24 to the harms suffered by Illinois residents at large.
  25         150. Defendants’ misconduct alleged in this case does not concern a discrete
  26 event or discrete emergency of the sort a political subdivision would reasonably
  27 expect to occur and is not part of the normal and expected costs of a local
  28 government’s existence. Defendants’ conduct was with evil motive and/or reckless
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    1 and outrageous indifference to a highly unreasonable risk of harm and with a
    2 conscious indifference to the rights and safety of others.
    3         151. Chicago requests an order providing for abatement of the public
    4 nuisance that Defendants have created or assisted in the creation of, including costs
    5 for public outreach and theft prevention measures, as well as compensation for
    6 economic and property damages and injunctive relief.
    7         152. WHEREFORE, Chicago respectfully requests that this Court enter an
    8 order (a) awarding judgment in the Chicago’s favor on its Fourth Cause of Action;
    9 (b) requiring Defendants to abate the nuisance described herein and to deter and/or
  10 prevent the resumption of the nuisance; (c) awarding Chicago damages, including
  11 past, present, and future costs incurred by Plaintiff to abate the nuisance described in
  12 this Complaint, the amount to be proven at trial; (d) awarding Chicago punitive
  13 damages, the amount to be proven at trial; (e) awarding Chicago reasonable
  14 attorneys’ fees and costs, to the extent allowable; (f) awarding Chicago pre- and
  15 post-judgment interest, to the extent allowable; and (g) awarding such other, further,
  16 and different relief as this Court deems reasonable and just.
  17                              FIFTH CAUSE OF ACTION
  18                                         Negligence
  19          153. Chicago incorporates each preceding paragraph as though set forth
  20 fully.
  21          154. At all times relevant to this litigation, Defendants had a duty to act as a
  22 reasonably careful person would act under the circumstances in the design,
  23 manufacture, and distribution of Defendants’ products, including the duty to take all
  24 reasonable steps necessary to prevent the manufacture and/or sale of a product that
  25 was so unreasonably easy to steal.
  26          155. Defendants owed Chicago a duty to not expose the City or its residents
  27 to an unreasonable risk of harm. At all times relevant to this litigation, Defendants
  28 knew or, in the exercise of reasonable care, should have known, of the hazards and
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    1 dangers of foregoing installation of engine immobilizers or equivalent anti-theft
    2 technology in the Defective Vehicles and, specifically, the increased risk of vehicle
    3 theft and public harm.
    4        156. Accordingly, at all times relevant to this litigation, Defendants knew or,
    5 in the exercise of reasonable care, should have known that the omission of an engine
    6 immobilizer or equivalent anti-theft technology in the Defective Vehicles could
    7 cause Chicago injuries and thus created a dangerous and unreasonable risk of injury
    8 to Chicago. Defendants were therefore in the best position to protect Chicago
    9 against the foreseeable rise in the theft of Defective Vehicles.
  10         157. Nearly all cars sold in the United States from 2011 to 2022, besides
  11 Defendants’ Defective Vehicles, were equipped with an engine immobilizer.
  12         158. As such, Defendants, by action and inaction, breached their duty and
  13 failed to exercise reasonable care, and failed to act as a reasonably prudent person
  14 and/or company would act under the same circumstances in the design,
  15 development, manufacture, testing, and distribution of their vehicles, in that
  16 Defendants manufactured and produced vehicles that fell below minimum, industry-
  17 standard security measures.
  18         159. Defendants are in control of the design, research, manufacture, testing,
  19 and distribution of the vehicles they distributed to authorized dealerships in
  20 Chicago.
  21         160. Defendants knew and/or should have known that it was foreseeable that
  22 Chicago would suffer injuries as a result of Defendants’ failure to exercise
  23 reasonable care in the manufacturing and sale of Defendants’ vehicles, particularly
  24 given Defendants’ recognition as early as 2007 that engine immobilizers were an
  25 effective deterrent in preventing vehicle theft.
  26         161. Defendants acted unreasonably in light of what could be foreseen as a
  27 result of their conduct. Defendants’ negligence helped to, produced, and was a
  28 factual and proximate cause of the injuries, harm, and economic losses that Chicago
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    1 suffered, and will continue to suffer.
    2        162. Defendants’ acts and omissions imposed an unreasonable risk of harm
    3 to others separately and/or combined with the negligent and/or criminal acts of third
    4 parties.
    5        163. Chicago’s injuries, harms, and economic losses would not have
    6 occurred absent Defendants’ negligent conduct as described herein.
    7        164. Defendants’ conduct constituting reckless disregard of Chicago’s
    8 rights, was committed and/or authorized by one or more officers, directors, or
    9 managing agents of Defendants, who acted on behalf of Defendants. Additionally,
  10 or in the alternative, one or more officers, directors, or managing agents of
  11 Defendants knew of the conduct constituting reckless disregard of Chicago’s rights
  12 and adopted or approved that conduct after it occurred.
  13         165. As an actual and proximate result of Defendants’ wrongful acts and
  14 omissions, Chicago has been injured and has suffered and will continue to suffer
  15 economic damages, including significant expenditures for police, emergency, health,
  16 and other services and has suffered property damage to City property, including City
  17 property damaged by stolen Defective Vehicles and property damage on public
  18 roads in Chicago.
  19         166. Chicago has incurred, and will continue to incur, expenditures over and
  20 above its ordinary public services. Defendants’ misconduct alleged in this case does
  21 not concern a discrete event or discrete emergency of the sort a political subdivision
  22 would reasonably expect to occur and is not part of the normal and expected costs of
  23 a local government’s existence.
  24         167. Defendants’ willful, knowing, and reckless conduct, constituting
  25 reckless disregard of Chicago’s rights, including the right to public safety.
  26 Defendants’ conduct was with evil motive and/or reckless and outrageous
  27 indifference to a highly unreasonable risk of harm and with a conscious indifference
  28 to the rights and safety of others.
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    1        168. Chicago is without fault and injuries to Chicago and its residents would
    2 not have occurred in the ordinary course of events had Defendants used due care
    3 commensurate to the dangers involved in the manufacturing and distribution of their
    4 vehicles.
    5        169. WHEREFORE, Chicago respectfully requests that this Court enter an
    6 order (a) awarding judgment in Chicago’s favor on its Fifth Cause of Action; (b)
    7 awarding Chicago damages as permitted by law, the amount to be proven at trial; (c)
    8 awarding Chicago punitive damages as permitted by law; (d) awarding Chicago
    9 reasonable attorneys’ fees and costs, to the extent allowable; (e) awarding Chicago
  10 pre- and post-judgment interest, to the extent allowable; and (f) awarding such other,
  11 further, and different relief as this Court deems reasonable and just.
  12                              SIXTH CAUSE OF ACTION
  13                               Violation of MCC § 1-20-020
  14         170. Chicago incorporates each preceding paragraph as though set forth
  15 fully herein.
  16         171. MCC § 1-20-020 provides that “[a]ny person who causes the city or its
  17 agents to incur costs in order to provide services reasonably related to such person’s
  18 violation of any federal, state or local law, or such person’s failure to correct
  19 conditions which violate any federal, state or local law when such person was under
  20 a legal duty to do so, shall be liable to the city for those costs.”
  21         172. The MCC defines “costs” as:
  22
  23         all costs of the city incurred in relation to the provision of services by
  24         the city or its agents, regardless of whether the city would have
  25         otherwise incurred those costs, including but not limited to wages and
  26         benefits of personnel involved in providing such services, reasonable
  27         costs of equipment used in the provision of such services, costs of
  28         materials expended in providing such services, costs of storing

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    1         hazardous or any other materials recovered during the course of
    2         providing such services, or any other costs allocable to the provision of
    3         services.
    4
    5 MCC § 1-20-010.
    6         173. Chicago is also entitled to recover a penalty in an amount equal to the
    7 City’s litigation and collection costs and attorneys’ fees. MCC § 1-20-060.
    8         174. Defendants have acted in violation of federal, state, and local law by
    9 using deceptive and unfair trade practices in violation of MCC §§ 2-25-090 and
  10 4-276-470; 815 ILCS 505/2 and 510/2; and 15 U.S.C. § 45. Defendants have also
  11 acted in violation of state common law through their negligent manufacture and sale
  12 of Defective Vehicles and their cause of or contribution to a public nuisance.
  13          175. The direct and proximate result of Defendants’ violation of federal,
  14 state and/or local law was a wave of thefts of the Defective Vehicles, and the
  15 resulting costs to Chicago in responding to the wave of thefts and crimes, injuries,
  16 and property damage associated with those thefts.
  17          176. Had Defendants not unlawfully misrepresented the quality and safety of
  18 the Defective Vehicles in their advertising and marketing materials, including by
  19 intentionally omitting information about the lack of engine immobilizers or
  20 equivalent technology, some, if not all, of Chicago consumers would not have
  21 bought the Defective Vehicles, resulting in fewer cars on the streets to steal.
  22 Additionally, had Defendants not unfairly marketed and sold the Defective Vehicles
  23 and/or negligently manufactured vehicles without industry-standard antitheft
  24 technology, the Defective Vehicles would not have been on the street at all or
  25 otherwise without the anti-theft technology that makes them unusually susceptible to
  26 theft.
  27          177. Defendants’ misconduct alleged in this case does not concern a discrete
  28 event or discrete emergency of the sort a political subdivision would reasonably
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    1 expect to occur and is not part of the normal and expected costs of a local
    2 government’s existence
    3        178. Because of Defendants’ unlawful actions, the City of Chicago has had
    4 to expend, and will continue to expend, considerable resources to mitigate the harms
    5 from thefts of these vehicles and related crimes. The City of Chicago has incurred
    6 and will continue to incur costs for police, emergency, health, and other services;
    7 costs to repair property damage; and costs for public outreach and theft prevention
    8 measures to mitigate the nuisance caused by Defendants.
    9        179. WHEREFORE, Chicago respectfully requests that this Court enter an
  10 order (a) awarding judgment in the Chicago’s favor on its Sixth Cause of Action; (b)
  11 awarding Chicago costs it has incurred and will continue to incur due to Defendants
  12 violation of law as provided in MCC § 1-20-020, in the amount to be proven at trial;
  13 (c) awarding Chicago its costs of investigation and suit, including reasonable
  14 attorneys’ fees and costs as a penalty under MCC § 1-20-020; (d) awarding Chicago
  15 pre- and post-judgment interest, to the extent allowable; and (e) awarding such
  16 other, further, and different relief as this Court deems reasonable and just.
  17                                  PRAYER FOR RELIEF
  18         Plaintiff City of Chicago respectfully requests that the Court enter an order
  19 granting the following relief:
  20         A.     Declaring that Defendants violated MCC § 2-25-090;
  21         B.     Declaring that Defendants violated MCC § 4-276-470;
  22         C.     Enjoining Defendants from engaging in further unfair and deceptive
  23                practices in violation of MCC § 2-25-090;
  24         D.     Enjoining Defendants from engaging in further deceptive practices in
  25                violation of MCC § 4-276-470;
  26         E.     Entering an injunction requiring Defendants to abate the nuisance
  27                described herein and to deter and/or prevent the resumption of the
  28                nuisance;

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    1        F.    Awarding restitution to impacted consumers due to Defendants’ unfair
    2              and deceptive practices in violation of MCC § 2-25-090;
    3        G.    Disgorging Defendants of their profits obtained through unfair and
    4              deceptive practices in violation of MCC § 2-25-090;
    5        H.    Assessing Defendants fines of $10,000 for each offense under MCC
    6              § 2-25-090;
    7        I.    Assessing Defendants fines of $2,000 for each offense under MCC
    8              § 4-276-470;
    9        J.    Awarding Chicago costs incurred from Defendants’ conduct, pursuant
  10               MCC § 1-20-060;
  11         K.    Awarding Chicago past, present, and future costs to abate the nuisance
  12               described in this Complaint;
  13         L.    Awarding Chicago all other damages permitted by law;
  14         M.    Awarding Chicago punitive damages permitted by law;
  15         N.    Awarding Chicago its costs of investigation and suit, including
  16               reasonable attorneys’ fees and costs as a penalty under MCC
  17               § 1-20-020;
  18         O.    Awarding Chicago reasonable attorneys’ fees and costs, to the extent
  19               allowable;
  20         P.    Awarding Chicago pre- and post-judgment interest, to the extent
  21               allowable; and
  22         Q.    Awarding such other, further, and different relief as this Court deems
  23               reasonable and just.
  24                               JURY TRIAL DEMANDED
  25         Plaintiff hereby demands a trial by jury on all claims so triable.
  26
  27
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        SECOND AMENDED COMPLAINT                              CASE NO. 8:23-CV-02045-JVS(KESX)
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    1                                              Respectfully submitted,
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                                                   CITY OF CHICAGO
    3
                                                   DEPARTMENT OF LAW
    4
    5 Date: April 10, 2024                         By: /s/Stephen J. Kane
    6                                              Stephen J. Kane (pro hac vice)
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  16 Date: April 10, 2024                          By: /s/Shantel Chapple Knowlton
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                                                   Attorneys for Plaintiff City of Chicago
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    1                             CERTIFICATE OF SERVICE
    2         I hereby certify that on April 10, 2024, I electronically filed the foregoing
    3 document with the Clerk of the Court using the CM/ECF system which will send
    4 notification of such filing to all counsel of record. In addition, a Notice of Filing of
    5 Second Amended Complaint is being filed concurrently in the MDL attaching the
    6 Second Amended Complaint and Exhibits A-C thereto and will send notification of
    7 such filing to all counsel of record in the MDL
    8
    9
  10                                                  /s/ Shantel Chapple Knowlton
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        SECOND AMENDED COMPLAINT                               CASE NO. 8:23-CV-02045-JVS(KESX)
